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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF CONNECTICUT


CONSTANCE BAGLEY                                         :
                                                         :
         Plaintiff                                       :            CIVIL ACTION NO.
                                                         :            3:13 CV 1890 (CSH)
vs.                                                      :
                                                         :
YALE UNIVERSITY, DOUGLAS RAE,                            :
EDWARD SNYDER and ANDREW                                 :            September 9, 2014
METRICK, Individually                                    :
                                                         :
         Defendants                                      :


                            MOTION FOR EXTENSION OF TIME

         The defendant, Yale University, hereby moves for a 30 day extension of time, up to and

including October 10, 2014, within which to answer plaintiff’s interrogatories dated August 11,

2014 to which no objection has been taken. The reason for this request is that it will take

defendant’s employees substantial time to assemble the information requested by the plaintiff,

and it is anticipated that the defendant will not be able to assemble that information within the

time permitted by the Federal Rules for a response. Plaintiff’s counsel has indicated that she does

not have any objection to the granting of this motion.

         This is the defendant’s first request for an extension of time within which to respond to

plaintiff’s August 11, 2014 interrogatories.
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                                                       THE DEFENDANT
                                                       YALE UNIVERSITY


                                                  BY:___/s/ Patrick M. Noonan (#ct00189)
                                                     Patrick M. Noonan
                                                     Donahue, Durham & Noonan, P.C.
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                                                     Guilford, CT 06437
                                                     (203) 458-9168



                                       CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by e-mail to all parties by operation of the court’s electronic filing system or
by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the court’s CM/ECF System.


                                                       _______________/s/________________
                                                        Patrick M. Noonan




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